Name & Case  8:20-cr-00146-DOC Document 167 Filed 11/09/22 Page 1 of 1 Page ID #:1581
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
United States                                             CASE NUMBER:

                                                                             8:20-cr-00146
                                           PLAINTIFF(S)
                          v.
Jason Fong                                                         NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

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Introduction of Evidence Pursuant to Federal Rule 404(b) and Exhibits 1-4




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✔     Per Court order dated: 10/0/2020, Dkt. No. 13
          Other:




November 9, 2022                                           Christine M. Ro
Date                                                       Attorney Name
                                                           United States
                                                           Party Represented


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